Case 1:17-cr-10378-NMG Document 69-3 Filed 04/02/18 Page 1 of 3




                EXHIBIT C
        Case 1:17-cr-10378-NMG Document 69-3 Filed 04/02/18 Page 2 of 3



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )    Criminal No. 1:17-CR-10378-NMG
              v.                                     )
                                                     )
BRIAN AUGUSTINE JOYCE,                               )
                                                     )
                   Defendant.                        )
                                                     )

                        PROPOSED STIPULATION OF BRIAN A. JOYCE

        In exchange for maintaining Howard Cooper as trial counsel in this case, Mr. Joyce is
prepared to execute a writing and/or state in open court in a Rule 44 inquiry that he avers and
stipulates as follows:

         1.        That he reviewed, approved, and authorized the submission of the specific
                   statements in letters and emails written by Howard Cooper and Todd & Weld
                   which are identified by the government in its motion to disqualify Cooper and
                   sent to the Ethics Commission on October 30, 2015, December 1, 2015, January
                   27, 2016, and February 5, 2016;

         2.        That Cooper did not represent Mr. Joyce or provide any advice concerning the
                   following transactions and arrangements and therefore Mr. Joyce will not rely on
                   any advice of Cooper with respect to these matters:

                       a. Filing and supporting PACE legislation;
                       b. Attendance at a meeting with the Commissioner of the Division of
                          Insurance;
                       c. Acquisition of stock in EIB;
                       d. Annual Financial Disclosure to the Ethics Commission;
                       e. Retainer and compensation arrangements with EIB, including the receipt
                          of a monthly $5000 retainer;
                       f. Filing and support of franchise and tip-pooling legislation;
                       g. Receipt of coffee from the franchise owner.

         3.        That, knowingly, voluntarily and with advice of independent counsel, he waives
                   any right to rely on the advice of Cooper or Todd & Weld concerning the
                   statements referred to in Paragraph (1), if Cooper is trial counsel in this case; and

         4.        That knowingly, voluntarily and with advice of independent counsel he waives
                   now and for all time any right to contend that Howard Cooper represented him in
        Case 1:17-cr-10378-NMG Document 69-3 Filed 04/02/18 Page 3 of 3



               this case while under a conflict of interest resulting from any allegation regarding
               Cooper’s prior representation of Mr. Joyce, including but not limited to the
               representation referred to in the government's motion to disqualify Cooper.

       Joyce is being advised by independent counsel, Martin Weinberg, Esq. and Robert
Goldstein, Esq., with respect to this matter.
